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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7
          KELLY HARRIS,
 8                                   Plaintiff,
                                                              C20-257 TSZ
 9                v.
                                                              MINUTE ORDER
10        GENERAL MOTORS LLC,
11                                   Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
          (1)    The Court requests a response to Plaintiff’s Motion for Reconsideration,
14
   docket no. 34. No reply shall be filed unless requested by the Court. Defendant is
   DIRECTED to file a response to the motion for reconsideration on or before noon on
15
   Friday, October 9, 2020. The motion for reconsideration is RENOTED to October 9,
   2020.
16
            (2)        The Clerk is directed to send a copy of this Minute Order to all counsel of
17
     record.
18          Dated this 24th day of September, 2020.
19
                                                          William M. McCool
20                                                        Clerk

21                                                        s/Karen Dews
                                                          Deputy Clerk
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     MINUTE ORDER - 1
